            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       BRYSON CITY DIVISION
                             2:13 CR 012-2


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                  ORDER
                                       )
JACOB HUNTER RATTLER.                  )
                                       )
______________________________________ )

      THIS CAUSE coming on to be heard and being heard before the

undersigned at the close of a Rule 11 proceeding that was held before this Court on

September 11, 2013. It appearing to the Court at the call of this matter on for

hearing the Defendant was present with his attorney, Mary Ellen Coleman and the

Government was present and represented through Assistant United States Attorney

Richard Edwards.      From the arguments of counsel for Defendant and the

arguments of the Assistant United States Attorney and the records in this cause, the

Court makes the following findings:

      Findings.    On June 4, 2013 a bill of indictment was issued charging the

Defendant with conspiracy to distribute marijuana, oxycodone, cocaine and

alprazolam, in violation of 21 U.S.C. § 841(a)(1)and 846.             Additionally,

Defendant was charged with one count of distribution of oxycodone, a schedule II

controlled substance, in violation of 21 U.S.C. § 841(a)(1). On September 11,

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2013, the undersigned held and inquiry, pursuant to Rule 11 of the Federal Rules

of Criminal Procedure and accepted a plea of guilty of the Defendant to the charge

of distribution of oxycodone as provided in count eight of the bill of indictment.

At the end of the Rule 11 proceeding, this Court presented the issue of whether or

not Defendant should now be detained, pursuant to 18 U.S.C. § 3143(a)(2).

      Discussion.    18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or
      (C) of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

             (A)(i) the judicial officer finds there is a substantial likelihood
      that a motion for acquittal or new trial will be granted; or

            (ii) an attorney for the Government has recommended that no
            sentence of imprisonment be imposed on the person; or

            (B) the judicial officer finds by clear and convincing evidence
            that the person is not likely to flee or pose a danger to any other
            person or the community.

      From an examination of the records in this cause, it appears Defendant has

now entered a plea of guilty to distribution of oxycodone in violation of 21 U.S.C.

§ 841(a)(1). That crime is one of the crimes that is referenced under 18 U.S.C. §

3142(f)(1)(C).   The undersigned made an inquiry of Assistant United States

Attorney Richard Edwards as to whether or not there will be a recommendation

that no sentence of imprisonment be imposed upon Defendant. Mr. Edwards

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advised the Court that such a recommendation could not be made in this matter.

The undersigned cannot find there is a likelihood that a motion for acquittal or new

trial will be granted due to the plea of guilty of Defendant. It would thus appear,

and the Court is of the opinion that the Court is required to apply the factors as set

forth under 18 U.S.C. § 3143(a)(2) which mandate the detention of Defendant.

                                      ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release are hereby REVOKED and it is ORDERED that Defendant be detained

pending further proceedings in this matter.

                                                      Signed: September 13, 2013




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